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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI

STATE OF MISSOURI, ex rel.                    )
Chris Koster, and the                         )
MISSOURI DEPARTMENT OF                        )
NATURAL RESOURCES,                            )
MISSOURI STATE EMERGENCY                      )
MANAGEMENT AGENCY,                            )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )       Civil Action No. 11-CV-00067-SNLJ
                                              )
UNITED STATES ARMY CORPS                      )
OF ENGINEERS, MAJOR                           )
GENERAL MICHAEL J. WALSH,                     )
COLONEL VERNIE L. REICHLING,                  )
JR.,                                          )
          Defendants.                         )

                            UNOPPOSED MOTION TO INTERVENE

       NOW COMES the State of Illinois, by the authority of LISA MADIGAN, the Attorney

General of the State of Illinois and pursuant to Federal Rule of Civil Procedure 24, and moves to

intervene in this action. In support of this Motion, Illinois contemporaneously files its

Memorandum of Law, including supporting affidavits.

       If granted, the relief requested by Missouri will prevent the implementation by the Army

Corps of the Floodway Operations Plan and will necessarily result in injury to numerous

communities in southern Illinois. If the levees protecting Cairo are breached, water levels in the

City will rise 18 to 20 feet, directly threatening approximately 3000 residents. Wilson Aff. ¶ 5.

The flooding that will result as a consequence of an injunction against the Army Corps will

devastate Cairo and other communities. Intervention pursuant to Rule 24 will allow Illinois to

provide evidence to assist the Court so that all interests may be considered.
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        For the foregoing reasons, Illinois requests that this Court grant it leave to intervene as of

right or, in the alternative, permissively.

                                                 Respectfully submitted,
                                                 LISA MADIGAN
                                                 Attorney General of Illinois

                                                 MATTHEW J. DUNN, Chief
                                                 THOMAS DAVIS, Chief
                                                 Environmental Enforcement/ Asbestos
                                                 Litigation Division

                                              BY: /s/ Rex L. Gradeless
                                                REX L. GRADELESS
                                                Assistant Attorney General
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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF MISSOURI

STATE OF MISSOURI                       )
                                        )
      Plaintiff,                        )
                                        )
      vs.                               )      No.           11-CV-00067-SNLJ
                                        )
UNITED STATES ARMY CORPS                )
OF ENGINEERS,                           )
                                        )
                                        )
      Defendant.                        )

                            CERTIFICATE OF SERVICE

      I hereby certify that on April 28, 2011, I electronically filed the foregoing
Unopposed Motion To Intervene with the Clerk of Court using the CM/ECF system
which will send notification of such filing to the following:

                                     Jessica L. Blome
                                     Jessica.blome@ago.mo.gov

                                     John K. McManus
                                     Jack.McManus@ago.mo.gov

                                     Nicholas P. Llewellyn
                                     Nicholas.llewellyn@usdoj.gov

and I hereby certify that on April 28, 2011, I mailed by United States Postal
Service, the document to the following nonregistered participant:

                                     None

                                        Respectfully submitted,

                                        By:     /s/Rex L. Gradeless
                                               Rex L. Gradeless
                                               Assistant Attorney General
                                               Attorney for Defendant(s)
                                               500 South Second Street
                                               Springfield, IL 62706
                                               Rgradeless@atg.state.il.us
